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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  BELLA HEALTH AND WELLNESS
  et al.,                                             Case No. 1:23-cv-939-DDD-SBP

           Plaintiffs,
                                                   PLAINTIFFS’ RESPONSES TO
  CHELSEA M. MYNYK,                                DEFENDANTS’ FIFTH SET OF
                                                   DISCOVERY REQUESTS AND
           Plaintiff-Intervenor,                         FOURTEENTH
                                                   SUPPLEMENTAL RESPONSES
     v.

  PHIL WEISER, in his official capacity as
  Attorney General of Colorado, et al.,

           Defendants.


          Plaintiffs Bella Health and Wellness, Denise “Dede” Chism, Abby Sinnett, and

 Kathleen Sander (“Plaintiffs”), by and through counsel, submit the following

 Responses to Defendants’ Fifth Set of Discovery Requests and Fourteenth

 Supplemental Responses. Plaintiffs’ fourteenth supplemental responses are

 bolded for ease of reference.

          Plaintiffs make this response without conceding the relevance or materiality

 of any discovery request and without prejudice to their right to object to admissibility

 at trial with respect to the subject matter of any discovery request. The word usage

 and sentence structure are that of the attorneys who drafted these responses.

          Plaintiffs make certain general objections, which are incorporated by reference

 as described below, as well as specific objections that are made on an individual basis

 to each request below. These objections and responses are based on information
                                                                                           Case
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                                                                                        Exhibit
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 currently known and reasonably available to Plaintiffs. These objections and

 responses are made without prejudice to Plaintiffs’ right to rely on, at any time,

 including at trial, subsequently discovered information or information omitted from

 this response as a result of mistake, error, oversight, or inadvertence. Plaintiffs will

 supplement these objections and responses if they learn of additional or different

 responsive information. No incidental or implied admissions are intended by these

 responses. The fact that Plaintiffs respond or make objections to any request for

 production should not be taken as an admission that Plaintiffs accept or admit the

 existence of any “facts” set forth or assumed by such discovery requests.

                              GENERAL OBJECTIONS

      1.      Plaintiffs object to the discovery requests to the extent they seek to

 impose obligations beyond those required by the Federal Rules of Civil Procedure or

 the Local Rules of the United States District Court for the District of Colorado.

      2.      Plaintiffs object to the discovery requests to the extent they seek

 disclosure of information or communications protected by any evidentiary privilege,

 including but not limited to the attorney-client privilege, the work product doctrine,

 and the physician-patient privilege. Plaintiffs further object to these discovery

 requests to the extent they seek information protected by any other applicable

 privilege or immunity, including those secured by the First and Fourteenth

 Amendments to the United States Constitution and Article II of the Colorado

 Constitution. The inadvertent or unintentional disclosure by Plaintiffs of material or

 information covered by any privilege or immunity shall not be deemed a waiver of

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 such protection. Plaintiffs object to the discovery requests to the extent they seek

 information prohibited from disclosure by federal statutory and regulatory

 requirements, state and federal privacy laws, or any other provision of law or court

 order prohibiting the disclosure of information or rendering information subject to

 confidentiality.

       3.     Plaintiffs object to the discovery requests to the extent they burden

 rights or seek information protected by the federal Constitution, including but not

 limited to the First and Fourteenth Amendments, the Colorado Constitution, or state

 and federal law, including but not limited to the federal Religious Freedom

 Restoration Act, 42 U.S.C. §§ 2000bb et seq., and Colorado’s Reproductive Health

 Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq.

       4.     Plaintiffs object to the discovery requests to the extent they are

 overbroad, unduly burdensome, duplicative, oppressive, or not proportional to the

 needs of the case.

       5.     Plaintiffs object to the discovery requests to the extent they seek

 information that is publicly available, or that may be obtained from another source

 that is more convenient, less burdensome, or less expensive, or that is solely within

 the possession, custody, or control of third parties.

       6.     Plaintiffs object to the discovery requests to the extent they require

 Plaintiffs to answer on behalf of non-parties. Plaintiffs also object to the extent the

 discovery requests seek information concerning third parties not involved in this



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 litigation that is confidential pursuant to Martinelli v. District Court, 199 Colo. 163,

 612 P.2d 1083 (Colo. 1980), and In re District Court, 256 P.3d 687 (Colo. 2011).

       7.     Plaintiffs object to the discovery requests to the extent they purport to

 require Plaintiffs to provide information not within their possession, custody, or

 control, or information that is already within any of the Defendants’ possession,

 custody, or control.

       8.     Plaintiffs object to the discovery requests to the extent they are or

 incorporate terms that are vague, ambiguous, impermissibly imprecise, or otherwise

 unintelligible.

       9.     Plaintiffs object to the discovery requests to the extent they seek

 information not relevant to the subject matter of this action and/or information not

 reasonably calculated to lead to the discovery of admissible evidence.

       10.    Plaintiffs object to the discovery requests to the extent they seek legal

 conclusions and analysis.

       11.    Plaintiffs object to the use of responses and documents produced

 pursuant to these discovery requests for purposes beyond the scope of the above-

 captioned matter. Per the agreed-upon Stipulated Protective Order, all confidential

 information contained in documents produced in response to these requests “shall be

 used solely by the receiving party for the purpose of litigating in the above-captioned

 litigation, shall be and remain confidential, and shall not be used for any purpose

 other than litigating in the above-captioned litigation.” Dkt. 132, at 2.



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       12.    Plaintiffs object to the definition of “Plaintiffs” to include Plaintiff-

 Intervenor. The use of the term “Plaintiffs” in these responses refers to Plaintiffs

 Bella Health and Wellness, Denise Chism, Abby Sinnett, and Kathleen Sander.

                               DOCUMENT REQUESTS

 1.    Produce all documents used, referenced, or consulted in responding to the
       interrogatories below.

       RESPONSE: Plaintiffs object to this request to the extent it seeks privileged

 documents, irrelevant documents, or otherwise non-responsive documents which

 Plaintiffs reviewed as part of their reasonable search. Plaintiffs further object that

 the information sought is not proportional to the needs of the case. Plaintiffs further

 object that this request is vague, ambiguous, and without reasonable particularity as

 “used,” “referenced,” and “consulted” are not defined terms. Plaintiffs further object

 to the extent this request burdens rights or seeks information protected by the First

 and Fourteenth Amendments to the United States Constitution, Article II of the

 Colorado Constitution, and/or Colorado’s Reproductive Health Equity Act, Colo. Rev.

 Stat. §§ 25-6-403 et seq.

       Subject to and without waiving the general objections and the objections and

 reservations contained in Plaintiffs’ Response to Interrogatories, responsive

 documents    are   produced   at   Bates   BHW002104,      BHW003597-BHW003602,

 BHW004592-BHW004685,            BHW005363-BHW005408,            and      BHW006522-

 BHW006539.

       SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections, the specific objections asserted above, and the objections and
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 reservations contained in Plaintiffs’ Responses to Interrogatories, additional

 responsive documents are produced at Bates BHW006963-BHW007365 and

 BHW007860-7901.

       SUPPLEMENTAL RESPONSE (September 16, 2024): Subject to and without

 waiving the general objections, the specific objections asserted above, and the

 objections and reservations contained in Plaintiffs’ Responses to Interrogatories,

 additional responsive documents were previously produced at Bates BHW012656-

 BHW012677. Plaintiffs also identify the expert reports of Dr. Monique Chireau

 Wubbenhorst and Dr. Jeffrey A. Keenan, served on Defendants on May 31, 2024, and

 the rebuttal expert reports of Dr. Monique Chireau Wubbenhorst and Dr. Jeffrey A.

 Keenan, served on Defendants on August 1, 2024.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections above, responsive documents are produced at Bates

 BHW013944-BHW013970. Plaintiffs also identify the supplemental expert report of

 Dr. Monique Chireau Wubbenhorst and information cited therein, served on

 Defendants on October 3, 2024.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above,   responsive    documents     are    produced   at   Bates    BHW013127-

 BHW013129, BHW013640-BHW013642, BHW013710-BHW013713, BHW014156-

 BHW014161, and BHW016527-BHW016529. Plaintiffs also identify the second

 supplemental expert report of Dr. Monique Chireau Wubbenhorst and

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 information cited therein, served on Defendants on December 9, 2024; the

 depositions of Denise Chism, Abby Sinnett, Kathleen Sander, Bella Health

 and Wellness’s Rule 30(b)(6) deposition testimony, Natalie Lanker, Nathan

 Blake, Samuel Delp, the Colorado Attorney General’s Rule 30(b)(6)

 deposition testimony, and the Colorado Medical Board and State Board of

 Nursing’s Rule 30(b)(6) deposition testimony; Plaintiffs’ First Amended

 Complaint (Dkt. 94); SB 23-190; Colorado Medical Board Rule 1.32; and the

 State Board of Nursing of Colorado Rule 1.35.

 2.    Produce all records (both prenatal and post-partum for mother and baby if the
       pregnancy results in a live birth) for each patient Plaintiffs assert third party
       claims on behalf of, including but not limited to the patients identified in
       paragraphs 17, 18, 19, 114, 115, 116, 117, and 211 of the Amended Complaint.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. The request

 seeks “all” patient records for the relevant individuals, including records and

 information, such as personal identifying information and sensitive medical

 information, that are not relevant to any party’s claims or defenses. Plaintiffs further

 object to the extent this request seeks information protected by federal and state

 privacy laws. Plaintiffs further object to the extent this request burdens rights or

 seeks information protected by the First and Fourteenth Amendments to the United

 States Constitution, Article II of the Colorado Constitution, and/or Colorado’s

 Reproductive Health Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq. Plaintiffs further

 object that the request is vague, ambiguous, and without reasonable particularity as

 it uses the term “post-partum” records for “baby.” Plaintiffs further object that they
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 cannot respond to this request with respect to claims brought on behalf of unknown

 future patients.

        Subject to and without waiving these and the general objections, responsive

 documents        are   produced   at    Bates     BHW003603-BHW004754,        BHW004769-

 BHW005584, BHW006522-BHW006539, and BHW006548-BHW006591. Plaintiffs

 are unable to produce responsive documents regarding unknown future patients.

 Documents that have been redacted or withheld as privileged will be identified on a

 privilege log.

        SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents were previously produced at Bates BHW006522-BHW006539

 and BHW006548-BHW006561, and are produced at Bates BHW006592-BHW006962.

        SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive       documents    are      produced     at   Bates   BHW008486-BHW008549,

 BHW009991-BHW010894, and BHW010908-BHW011683.

        SUPPLEMENTAL RESPONSE (June 3, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011836-BHW012117 and

 BHW012183-BHW012187.




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       SUPPLEMENTAL RESPONSE (June 5, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012191- BHW012270.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012447-BHW012677 and

 BHW012706-BHW012895.

       SUPPLEMENTAL RESPONSE (July 29, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012899-BHW013115.

       SUPPLEMENTAL RESPONSE (August 1, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013119-BHW013126.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013714-BHW013970.

       SUPPLEMENTAL RESPONSE (November 22, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW014162-BHW014445 and

 BHW015450-BHW015507. In response to Request for Production No. 2, Plaintiffs

 have produced patient records related to the pregnancy for which medication abortion

 reversal treatment was sought and/or obtained. Plaintiffs have not produced

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 ultrasound videos in response to this request.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, additional responsive documents are produced at Bates BHW016411-

 BHW016522 and Bates BHW016530-BHW017017. In response to Request for

 Production No. 2, Plaintiffs have produced patient records related to the

 pregnancy for which medication abortion reversal treatment was sought

 and/or obtained. Plaintiffs have not produced ultrasound videos in response

 to this request.

 3.    Produce all records for patients Plaintiffs have provided, or are currently
       providing, medication abortion reversal treatment, regardless of whether
       Plaintiffs assert third-party claims on their behalf, including both prenatal and
       post-partum records for both mother and baby if the pregnancy results in a live
       birth.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. The request

 seeks “all” patient records for the relevant individuals, including records and

 information, such as personal identifying information and sensitive medical

 information, that are not relevant to any party’s claims or defenses. Plaintiffs further

 object to the extent this request seeks information protected by federal and state

 privacy laws. Plaintiffs further object to the extent this Request burdens rights or

 seeks information protected by the First and Fourteenth Amendments to the United

 States Constitution, Article II of the Colorado Constitution, and/or Colorado’s

 Reproductive Health Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq. Plaintiffs further

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 object that the request is vague, ambiguous, and without reasonable particularity as

 it uses the term “post-partum” records for “baby.”

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW003603-BHW006514. Documents that have

 been redacted or withheld as privileged will be identified on a privilege log.

       SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW006592-BHW008213.

       SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive   documents     are    produced     at   Bates   BHW008486-BHW010907,

 BHW010918-BHW011530, and BHW011565-BHW011683.

       SUPPLEMENTAL RESPONSE (June 3, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011836-BHW012187.

       SUPPLEMENTAL RESPONSE (June 5, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012191- BHW012270.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012447-BHW012677 and

 BHW012706- BHW012895.

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       SUPPLEMENTAL RESPONSE (July 29, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012899-BHW013115.

       SUPPLEMENTAL RESPONSE (August 1, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013119-BHW013126.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013714-BHW013970.

       SUPPLEMENTAL RESPONSE (November 22, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW014162-BHW014445 and

 BHW015450-BHW015507. In response to Request for Production No. 3, Plaintiffs

 have produced patient records related to the pregnancy for which medication abortion

 reversal treatment was obtained. Plaintiffs have not produced ultrasound videos in

 response to this request.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, additional responsive documents are produced at Bates BHW016411-

 BHW016522 and Bates BHW016530-BHW017017. In response to Request for

 Production No. 3, Plaintiffs have produced patient records related to the

 pregnancy for which medication abortion reversal treatment was sought

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 and/or obtained. Plaintiffs have not produced ultrasound videos in response

 to this request.

 4.    Produce all records for all patients Plaintiffs have assessed for possible
       medication abortion reversal treatment, regardless of whether Plaintiffs
       ultimately provided medication abortion reversal treatment.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. The request

 seeks “all” patient records for the relevant individuals, including records and

 information, such as personal identifying information and sensitive medical

 information, that are not relevant to any party’s claims or defenses. Plaintiffs further

 object to the extent this request seeks information protected by federal and state

 privacy laws. Plaintiffs further object to the extent this request burdens rights or

 seeks information protected by the First and Fourteenth Amendments to the United

 States Constitution, Article II of the Colorado Constitution, and/or Colorado’s

 Reproductive Health Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq.

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW006515-BHW006591. Documents that have

 been redacted or withheld as privileged will be identified on a privilege log.

       SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents were previously produced at Bates BHW003603-BHW006514

 and are produced at Bates BHW006592-BHW008213.



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       SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW008486-BHW011683.

       SUPPLEMENTAL RESPONSE (June 3, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011836- BHW012187.

       SUPPLEMENTAL RESPONSE (June 5, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012191- BHW012270.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012447-BHW012677 and

 BHW012706- BHW012895.

       SUPPLEMENTAL RESPONSE (July 29, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012899-BHW013115.

       SUPPLEMENTAL RESPONSE (August 1, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013119-BHW013126.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013714-BHW013970.

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       SUPPLEMENTAL RESPONSE (November 22, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW014162-BHW014445 and

 BHW015450-BHW015507. In response to Request for Production No. 4, Plaintiffs

 have produced patient records related to the pregnancy for which medication abortion

 reversal treatment was sought and/or obtained. Plaintiffs have not produced

 ultrasound videos in response to this request.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, additional responsive documents are produced at Bates BHW016411-

 BHW016522 and Bates BHW016530-BHW017017. In response to Request for

 Production No. 4, Plaintiffs have produced patient records related to the

 pregnancy for which medication abortion reversal treatment was sought

 and/or obtained. Plaintiffs have not produced ultrasound videos in response

 to this request.

 5.    Produce all scientific literature Plaintiffs rely on to support the claim that use
       of progesterone to reverse the effects of mifepristone meets generally accepted
       standards of care.

       RESPONSE: Plaintiffs object that this request is vague, ambiguous, and

 without reasonable particularity as “rely on” and “generally accepted standards of

 care” are not defined terms.

       Subject to and without waiving these and the general objections, Plaintiffs

 direct Defendants to responsive documents already produced at Bates BHW000275-

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 BHW001520, BHW001563-BHW001609. Additional responsive documents are

 produced at Bates BHW002108-BHW002205. Plaintiffs further reserve their right to

 supplement this production as appropriate, including in any expert and rebuttal

 reports.

       SUPPLEMENTAL RESPONSE (June 3, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011747-BHW011835.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, Plaintiffs

 also identify the expert reports of Dr. Monique Chireau Wubbenhorst and Dr. Jeffrey

 A. Keenan and information cited therein, served on Defendants on May 31, 2024.

 Scientific literature relied on therein has been produced at the Bates ranges

 identified above.

       SUPPLEMENTAL RESPONSE (September 16, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, Plaintiffs

 also identify the rebuttal expert reports of Dr. Monique Chireau Wubbenhorst and

 Dr. Jeffrey A. Keenan and information cited therein, served on Defendants on August

 1, 2024. Scientific literature cited therein is produced at Bates BHW013130-

 BHW013615.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections above, Plaintiffs also identify the supplemental expert



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 report of Dr. Monique Chireau Wubbenhorst and information cited therein, served on

 Defendants on October 3, 2024

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections above, Plaintiffs also identify the

 second supplemental expert report of Dr. Monique Chireau Wubbenhorst

 and information cited therein, served on Defendants on December 9, 2024.

 6.    Produce tax returns for Plaintiff Bella Health and Wellness for the years 2019
       through 2023.

       RESPONSE: Plaintiffs object to this request on the grounds that it seeks

 documents that are not relevant to any party’s claims or defenses. See, e.g., Bonanno

 v. Quizno’s Franchise Co., 255 F.R.D. 550, 555 (D. Colo. 2009) (party not entitled to

 financial information where it “ha[d] not demonstrated that this information is

 required in order to prove an element of one of their claims”). Plaintiffs further object

 to the extent that the request seeks information that is publicly available. Plaintiffs

 further object to the extent the request seeks non-public information protected by the

 First Amendment to the United States Constitution and Article II of the Colorado

 Constitution.

       Subject to and without waiving these and the general objections, Plaintiffs

 produce Bella Health and Wellness’s public Form 990s for the years 2019 through

 2022 at Bates BHW001770 BHW001856.

       SUPPLEMENTAL RESPONSE (June 10, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, responsive

 documents are produced at Bates BHW012271-BBHW012445.
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       SUPPLEMENTAL RESPONSE (November 22, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, Bella

 Health and Wellness’s public Form 990s for the years 2019 through 2023 were

 previously produced at Bates BHW012271-BBHW012445.

 7.    Produce Bella Health and Wellness’ governing corporate documents, including
       its articles of incorporation and bylaws.

       RESPONSE: Plaintiffs object that this request is vague, ambiguous, and

 without reasonable particularity as “governing corporate documents” is not a defined

 term. Plaintiffs object to this request on the grounds that it seeks documents that are

 not relevant to any party’s claims or defenses.

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW001857-BHW001915.

 8.    Produce all versions of Bella Health and Wellness’ policies and procedures,
       including employee handbooks and codes of conduct in effect during the
       relevant time period.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 further object to the extent the request seeks policies and procedures that are not

 relevant to any party’s claims or defenses. Plaintiffs also object that the request is

 vague, ambiguous, and without reasonable particularity as “policies and procedures”

 is not a defined term. Plaintiffs further object to the extent this request seeks

 information protected by the First Amendment to the United States Constitution and

 Article II of the Colorado Constitution.


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       Subject to and without waiving these and the general objections, Bella Health’s

 employee handbooks; OB-GYN and related protocols; and practice agreements and

 financial policies that are provided to new patients are produced at Bates

 BHW001916-BHW002086 and BHW002095-BHW002102.

       SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011685-BHW011742.

 9.    Produce all versions of documents given to new patients by Plaintiffs during
       the relevant time period, including the “welcome packet” identified in
       Paragraph 131 of the Amended Complaint.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 object to the extent this request seeks documents already within Defendants’

 possession, custody, or control. See Dkt. 94, Ex. G at 9-10 (Bella Health and Wellness

 Welcome Card).

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW002080-BHW002093.

       SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011728-BHW011740 and

 BHW011743-BHW011746.

 10.   Produce all records for every patient who presented to Bella Health seeking a
       consultation for, information about, or provision of abortion care.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly
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 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 object to this request to the extent it seeks “all” records, including records that are

 not relevant to any party’s claims or defenses. Plaintiffs further object that the

 request is vague, ambiguous, and without reasonable particularity as “abortion care”

 is not a defined term.

       Subject to and without waiving these and the general objections, Plaintiffs

 respond that they have identified no responsive documents.

 11.   Produce all protocols used by Plaintiffs for medication abortion reversal
       assessment and treatment, including but not limited to the materials reviewed,
       referenced, and/or consulted in development of the protocols.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 further object that the request is vague, ambiguous, and without reasonable

 particularity as “protocols” and “used by” are not defined terms.

       Subject to and without waiving these and the general objections above, Bella

 Health’s Progesterone Therapy protocol, the sources cited therein, and the relevant

 consent forms are produced at Bates BHW002094-BHW002205. Plaintiffs also direct

 Defendants to additional documents previously produced at Bates BHW000275-

 BHW001520 and BHW001563-BHW001609. Plaintiffs further reserve their right to

 supplement this production as appropriate.

       SUPPLEMENTAL RESPONSE (May 17, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW011741- BHW011742.

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       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, Plaintiffs also direct Defendants to additional documents previously

 produced at Bates BHW011747-BHW011835 and BHW013130-BHW013615;

 the expert reports of Dr. Monique Chireau Wubbenhorst and Dr. Jeffrey A.

 Keenan and information cited therein, served on Defendants on May 31,

 2024; the rebuttal expert reports of Dr. Monique Chireau Wubbenhorst and

 Dr. Jeffrey A. Keenan and information cited therein, served on Defendants

 on August 1, 2024; the supplemental expert report of Dr. Monique Chireau

 Wubbenhorst and information cited therein, served on Defendants on

 October 3, 2024; and the second supplemental expert report of Dr. Monique

 Chireau Wubbenhorst and information cited therein, served on Defendants

 on December 9, 2024.

 12.   Produce any and all practice agreements by which Bella Health employees
       provide advice, assessments, and/or care to patients at locations, practices,
       and/or clinics other than the practice locations identified in the Amended
       Complaint, including but not limited to Marisol Health Clinic as alleged in
       paragraph 46 of the Amended Complaint.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 object to the extent the request seeks “any and all” practice agreements, including

 those that are not relevant to any party’s claims or defenses. Plaintiffs further object

 that the request is vague, ambiguous, and without reasonable particularity as

 “practice agreements,” “advice,” “assessments,” and “care” are not defined terms.

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       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW002206-BHW002224.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012678-BHW12696.

 13.   Produce any and all agreements between Plaintiffs and any entities that
       provide referrals for individuals inquiring about or requesting medication
       abortion reversal treatment to Plaintiffs individually and/or as a member of
       any organization, association, or other group.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 further object that the request is vague, ambiguous, and without reasonable

 particularity as “agreements” is not a defined term. Plaintiffs further object to the

 extent this request seeks information protected by the First Amendment to the

 United States Constitution and Article II of the Colorado Constitution.

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW002206-BHW002224.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012678-BHW12696.

       SUPPLEMENTAL RESPONSE (September 16, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013616-BHW013623.


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 14.   Produce any and all agreements, membership criteria, or other contracts
       entered into by Plaintiffs with any other group, agency, entity, funding source,
       or membership organization that references medication abortion reversal care.

       RESPONSE: Plaintiffs object to this request on the grounds that it seeks

 documents that are not relevant to any party’s claims or defenses. Plaintiffs further

 object on the grounds that this request is overly broad, unduly burdensome, and

 disproportionate to the needs of the case. Plaintiffs further object to this request to

 the extent that it requires Plaintiffs to answer on behalf of non-parties. Plaintiffs

 further object that this request is vague, ambiguous, and without reasonable

 particularity as “agreements,” “membership criteria,” “group,” “entity,” and “funding

 source,” are not defined terms. Plaintiffs further object to the extent this request

 seeks information protected by the First Amendment to the United States

 Constitution and Article II of the Colorado Constitution.

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW002225-BHW002228. Documents that have

 been redacted or withheld as privileged will be identified on a privilege log.

 15.   Produce any and all advertisements disseminated by Plaintiffs.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case. Plaintiffs

 further object that this request is vague, ambiguous, and without reasonable

 particularity as “advertisement” is not a defined term, and Plaintiffs publicize their

 services in many different ways. Plaintiffs further object to the extent that the

 request seeks information that is publicly available, or that may be obtained from

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 another source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving these and the general objections, responsive

 documents are produced at Bates BHW002229-BHW003596.

       SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW008214-BHW008485.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW012697-BHW012705.

       SUPPLEMENTAL RESPONSE (October 25, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW013974-BHW014130.

       SUPPLEMENTAL RESPONSE (November 12, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, additional

 responsive documents are produced at Bates BHW014131-BHW014142.

       SUPPLEMENTAL RESPONSE (November 22, 2024): On November 8, 2024,

 Defendants for the first time propounded a definition of “advertisement” as “the

 attempt by publication, dissemination, solicitation, or circulation, visual, oral, or

 written, to induce directly or indirectly any person to enter into any obligation or to

 acquire any title or interest in any property.” B. Grassmeyer Email to Plaintiffs’

 Counsel, Nov. 8, 2024 (quoting C.R.S. § 6-1-102(1)). Plaintiffs continue to object to

 this request as overly broad, unduly burdensome, and disproportionate to the needs

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 of this case. Plaintiffs also object that the propounded definition remains vague, as it

 does not define what it means to “induce directly or indirectly” to enter “any

 obligation.” In response to Request for Production No. 15, Plaintiffs have previously

 produced documents publicizing Bella’s services and/or care from Bella’s website,

 social media posts, social media advertisements, church bulletin placements,

 magazine placements, and flyers at the Bates ranges identified above.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, additional documents publicizing Bella’s services and/or care from

 Bella’s website, social media posts, social media advertisements, church

 bulletin placements, magazine placements, or flyers are produced at Bates

 BHW017227-BHW017307.

 16.   Produce any and all documents or communications related to any actual or
       potential advertisements by Plaintiffs without regard to whether the
       advertisement was disseminated.

       RESPONSE: Plaintiffs object to this request on the grounds that it seeks

 documents and communications that are not relevant to any party’s claims or

 defenses. Plaintiffs further object that this request is overly broad, unduly

 burdensome, and disproportionate to the needs of the case. Plaintiffs further object

 that the request is vague, ambiguous, and without reasonable particularity as

 “potential advertisements” is not a defined term.




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       Subject to and without waiving these and the general objections, Plaintiffs

 direct Defendants to documents produced in response to Request for Production

 No. 15.

       SUPPLEMENTAL RESPONSE (November 22, 2024): On November 8, 2024,

 Defendants for the first time propounded a definition of “advertisement” as “the

 attempt by publication, dissemination, solicitation, or circulation, visual, oral, or

 written, to induce directly or indirectly any person to enter into any obligation or to

 acquire any title or interest in any property.” B. Grassmeyer Email to Plaintiffs’

 Counsel, Nov. 8, 2024 (quoting C.R.S. § 6-1-102(1)). Plaintiffs continue to object to

 this request on the grounds that it seeks documents and communications that are not

 relevant to any party’s claims or defenses, and the grounds that it is overly broad,

 unduly burdensome, and disproportionate to the needs of this case. Plaintiffs also

 object that the propounded definition remains vague, as it does not define what it

 means to “induce directly or indirectly” to enter “any obligation.” Plaintiffs further

 object to this request as vague, ambiguous, and without reasonable particularity as

 “potential advertisements” and “actual . . . advertisements” are not defined terms.

 Subject to and without waiving the general objections and the specific objections

 asserted above, documents and communications related to documents publicizing

 Bella’s services and/or care from Bella’s website, social media posts, social media

 advertisements, church bulletin placements, magazine placements, and flyers, as

 well as draft versions of the foregoing documents, are produced at Bates BHW014446-

 BHW015446 and BHW015508-BHW016407.

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       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections and the specific objections asserted

 above, additional documents and communications related to documents

 publicizing Bella’s services and/or care from Bella’s website, social media

 posts, social media advertisements, church bulletin placements, magazine

 placements, and flyers, as well as draft versions of the foregoing documents,

 are produced at Bates BHW017308-BHW017374.

 17.   Produce any and all written demand letters or other formal notices of claim
       received from any patient related to care that included medication abortion
       reversal services.

       RESPONSE: Plaintiffs object to this request to the extent that it seeks

 information within Defendants’ possession, custody, or control.

       Subject to this and the general objections, Plaintiffs respond that they have

 identified no responsive documents.

 18.   Produce the “APR tracker” referenced at Bates BHW002021.

       RESPONSE: Plaintiffs object to this request as seeking information protected

 by the attorney work product and attorney-client privileges.

       Subject to and without waiving these and the general objections, Plaintiffs

 have identified and withheld as privileged one responsive document, Bates

 BHW011684, as reflected in the accompanying privilege log.

 19.   Produce any and all documents or communications related to information
       about abortion pill reversal that Ms. Mynyk removed from her website because
       of SB23-190, including but not limited to the documents that support the
       allegations in paragraph 200 of Ms. Mynyk’s Plaintiff-Intervenor’s Complaint.

       RESPONSE: None.
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 20.   All communication and documents sent to and received from third parties
       regarding services and/or care provided to patients, including but not limited
       to, communications between Plaintiffs or Plaintiff-Intervenor and Abortion Pill
       Rescue Network or Heartbeat International.

       RESPONSE: Plaintiffs object to this request as overly broad, unduly

 burdensome, and disproportionate to the needs of the case. The request seeks “all”

 communications or documents exchanged with third parties “regarding services

 and/or care provided to patients.” On its face, that would encompass all Bella

 communications with any third party regarding any service or care of any kind

 provided to any patient. Plaintiffs further object to this request on the grounds that

 it seeks documents and communications that are not relevant to any party’s claims

 or defenses. Plaintiffs further object to the extent this request seeks information

 protected by federal and state privacy laws. Plaintiffs further object to the extent this

 request burdens rights or seeks information protected by the First and Fourteenth

 Amendments to the United States Constitution, Article II of the Colorado

 Constitution, and/or Colorado’s Reproductive Health Equity Act, Colo. Rev. Stat.

 §§ 25-6-403 et seq. Plaintiffs further object that the request is vague, ambiguous, and

 without reasonable particularity as “services” and “care” are not defined terms.

       Subject to and without waiving these and the general objections, responsive

 documents regarding medication abortion reversal services and/or care provided to

 Bella medication abortion reversal patients are produced at BHW013624-

 BHW013649.




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       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, responsive documents

 regarding medication abortion reversal services and/or care provided to

 Bella medication abortion reversal patients are produced at BHW017216-

 BHW017226.

 21.   All communication and documents exchanged with third parties regarding
       referrals of patients either to or from Plaintiffs or Plaintiff-Intervenor,
       including communication and documents exchanged with the Abortion Pill
       Rescue Network or Heartbeat International.

       RESPONSE: Plaintiffs object to this request as overly broad, unduly

 burdensome, and disproportionate to the needs of the case. Plaintiffs further object

 to this request on the grounds that it seeks documents and communications that are

 not relevant to any party’s claims or defenses. Plaintiffs further object to the extent

 this request seeks information protected by federal and state privacy laws. Plaintiffs

 further object to the extent this request burdens rights or seeks information protected

 by the First and Fourteenth Amendments to the United States Constitution, Article

 II of the Colorado Constitution, and/or Colorado’s Reproductive Health Equity Act,

 Colo. Rev. Stat. §§ 25-6-403 et seq. Plaintiffs further object that the request is vague,

 ambiguous, and without reasonable particularity as “referral” is not a defined term.

       Subject to and without waiving these and the general objections, responsive

 documents regarding referrals for medication abortion reversal are produced at

 BHW013624-BHW013637 and BHW013650-BHW013713.




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       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, responsive documents

 regarding referrals for medication abortion reversal are produced at

 BHW017216-BHW017217,            BHW017221-BHW017222,            and      BHW017225-

 BHW017226.

 22.   Produce any correspondence maintained on, sent through or to, or otherwise
       related to any social media account used by a Plaintiff for business purposes,
       including but not limited to correspondence with the social media provider and
       correspondence received from or sent to other users through the platform.

       RESPONSE: Plaintiffs object to this request as overly broad, unduly

 burdensome, and disproportionate to the needs of the case. Plaintiffs further object

 to this request on the grounds that it seeks documents and communications that are

 not relevant to any party’s claims or defenses. The request seeks “any correspondence

 maintained on, sent through or to, or otherwise related to any social media account

 used by a Plaintiff for business purposes.” On its face, that would encompass all Bella

 correspondence with any person that has anything to do with social media. Plaintiffs

 further object to the extent this request seeks information protected by federal and

 state privacy laws. Plaintiffs further object to the extent this request burdens rights

 or seeks information protected by the First and Fourteenth Amendments to the

 United States Constitution, Article II of the Colorado Constitution, and/or Colorado’s

 Reproductive Health Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq.

       Subject to and without waiving these and the general objections, responsive

 documents concerning Bella’s services related to abortion, emergency contraceptives,

 or medication abortion reversal are produced at BHW014143-BHW014155.
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 23.   Produce all documents and communications relating to any correspondence
       Plaintiffs have received from a patient or prospective patient inquiring about
       abortion, emergency contraceptives, or referrals for abortion or emergency
       contraceptives.

       RESPONSE: Plaintiffs object to this request as overly broad, unduly

 burdensome, and disproportionate to the needs of the case. Plaintiffs further object

 to this request on the grounds that it seeks documents and communications that are

 not relevant to any party’s claims or defenses. Plaintiffs further object to the extent

 this request seeks information protected by federal and state privacy laws. Plaintiffs

 further object to the extent this request burdens rights or seeks information protected

 by the First and Fourteenth Amendments to the United States Constitution, Article

 II of the Colorado Constitution, and/or Colorado’s Reproductive Health Equity Act,

 Colo. Rev. Stat. §§ 25-6-403 et seq. Plaintiffs further object that the request is vague,

 ambiguous, and without reasonable particularity as “referrals” is not a defined term.

       Subject to this and the general objections, Plaintiffs respond that they have

 identified no responsive documents.

 24.   All communication and documents, including but not limited to
       correspondence, sent to or received from current patients, individuals who
       became patients, previously were patients, and/or prospective patients who
       inquired about, sought information about, received information about, or in
       any way provided information to or sought information from You regarding
       abortion pill reversal.

       RESPONSE: Plaintiffs object to this request as overly broad, unduly

 burdensome, and disproportionate to the needs of the case. Plaintiffs further object

 to this request on the grounds that it seeks documents and communications that are

 not relevant to any party’s claims or defenses. Plaintiffs further object to the extent

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 this request seeks information protected by federal and state privacy laws. Plaintiffs

 further object to the extent this request burdens rights or seeks information protected

 by the First and Fourteenth Amendments to the United States Constitution, Article

 II of the Colorado Constitution, and/or Colorado’s Reproductive Health Equity Act,

 Colo. Rev. Stat. §§ 25-6-403 et seq.

       Subject to and without waiving these and the general objections,

 communications with patients regarding abortion pill reversal services and/or

 medical care related to the pregnancy for which abortion pill reversal services were

 sought are produced at BHW014156-BHW014161, BHW015447-BHW015449,

 BHW016523-BHW016526 and BHW017022-BHW017215.

                                INTERROGATORIES

 1.    Identify all persons/entities assisting Plaintiffs in preparing responses to
       written discovery.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs further

 object that this interrogatory is overly broad, unduly burdensome, and not

 proportional to the needs of this case. Plaintiffs also object to this interrogatory

 because it violates the work product doctrine. “[A]n interrogatory asking a party to

 identify all persons interviewed would contravene work product.” 8 Wright, Marcus,

 & Miller, Fed. Prac. & Proc. Civ. § 2028 (3d ed.), Ch. 6, Rule 26, § (C) (2023); United

 States v. Travelers Casualty & Surety Company of America, 2023 WL 5275382

 (D.N.M. 2023) (finding that interrogatory asking for names of individuals who

 assisted with answering interrogatories was both a violation of work product and
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 irrelevant).

       Subject to and without waiving these and the general objections, Plaintiffs

 respond that individual Plaintiffs, Lauren Castillo, Natalie Lanker, and Kelly Veitch

 assisted in the preparation of these discovery responses. All these individuals may be

 contacted through counsel for Plaintiffs.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, Plaintiffs respond that

 Mikayla Pardon, Brooklyn Saeman, Amanda Schoenthaler, and Sarah

 Hodack assisted in the preparation of these discovery responses. These

 individuals may be contacted through counsel for Plaintiffs.

 2.    Identify all third-party locations where Bella Health displays posters,
       brochures, and/or handouts on medication abortion reversal as alleged in
       paragraphs 130 and 218 of the Amended Complaint.

       RESPONSE: Plaintiffs object that this interrogatory is overly broad, unduly

 burdensome, and not proportional to the needs of this case. Plaintiffs sometimes

 distribute posters, brochures, and/or handouts to churches and other entities that

 display these materials, and Plaintiffs are not always aware of locations where Bella

 Health postures, brochures, and/or handouts are displayed.

       Subject to and without waiving these and the general objections, Plaintiffs

 respond that they are aware that Bella Health posters, brochures, and/or handouts

 are sometimes displayed at certain churches in the Denver area, including at All

 Souls Catholic Church and St. Frances Cabrini Catholic Church.



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          SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, Plaintiffs sometimes

 distribute or display posters, brochures, and/or handouts at conferences or

 fairs.

 3.       Identify all pregnancy resource centers, advocacy groups, medical practices,
          and clinics, who have transferred care of patients to Plaintiffs or directly
          referred patients to Plaintiffs for initiation of medication abortion reversal
          following the enactment of SB 23-190.

          RESPONSE: Plaintiffs object that this interrogatory is overly broad, unduly

 burdensome, and not proportional to the needs of this case. Plaintiffs further object

 that the information sought is not relevant to any party’s claim or defense. Plaintiffs

 further object that this interrogatory is vague, ambiguous, and without reasonable

 particularity as “advocacy groups” and “directly referred” are not defined terms.

 Plaintiffs further object to the extent this interrogatory seeks information protected

 by the First Amendment to the United States Constitution and Article II of the

 Colorado Constitution.

          Subject to and without waiving these and the general objections, Plaintiffs

 respond that the following entities have referred patients for consultation regarding

 medication abortion reversal, or have transferred care of medication abortion reversal

 patients to Plaintiffs since the enactment of SB 23-190:

          Abortion Pill Reversal Hotline

          Alternatives Pregnancy Center

          Marisol Health Northern Colorado


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 4.     Identify all health care facilities where Plaintiffs provide, consult, and/or
        assess patients for medication abortion reversal therapy.

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claim or defense.

        Subject to and without waiving these and the general objections, Plaintiffs

 respond that they provide, consult, and/or assess patients for medication abortion

 reversal at the following facilities:

        Bella Health & Wellness Primary Medical Campus
        180 E. Hampden Avenue
        Englewood, Colorado 80113

        Marisol Health – Denver
        3894 Olive Street
        Denver, Colorado 80207

        In addition, Plaintiffs previously provided, consulted, and/or assessed patients

 for medication abortion reversal at the following facility:

        Marisol Health – Lafayette
        1275 Centaur Village Drive
        Lafayette, Colorado 80026

 5.     Identify any incident in which a medication abortion reversal patient alleged
        they were coerced or misled into not obtaining an abortion by Plaintiffs or any
        provider associated with Plaintiffs.

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs also

 object that the interrogatory is vague, ambiguous, and without reasonable

 particularity as “associated with” is not a defined term.

        Subject to and without waiving these and the general objections, Plaintiffs

 respond that they are not aware of any incident in which a medication abortion
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 reversal patient alleged they were coerced or misled into not obtaining an abortion

 by Plaintiffs or any provider associated with Plaintiffs.

 6.    Identify any incident in which a medication abortion reversal patient treated
       by Plaintiffs has alleged they were coerced or misled into obtaining an abortion.

       RESPONSE: Plaintiffs object to this interrogatory to the extent it seeks the

 identity of individuals who were coerced or misled into obtaining an abortion, which

 is highly sensitive information that is not relevant to any party’s claims or defenses.

 Plaintiffs further object to the extent this interrogatory burdens rights or seeks

 information protected by the First and Fourteenth Amendments to the United States

 Constitution, Article II of the Colorado Constitution, and/or Colorado’s Reproductive

 Health Equity Act, Colo. Rev. Stat. §§ 25-6-403 et seq.

       Subject to and without waiving these and the general objections, Plaintiffs

 state that incidents in which medication abortion reversal patients who were treated

 by Plaintiffs reported being coerced or misled into obtaining an abortion are described

 in records produced at Bates BHW004592-BHW004685, BHW006522-BHW006539,

 and BHW005363-BHW005408.

       SUPPLEMENTAL RESPONSE (April 1, 2024): Subject to and without waiving

 the general objections and the specific objections asserted above, Plaintiffs state that

 additional incidents are described in records produced at Bates BHW006963-

 BHW007365 and BHW007860-7901.

       SUPPLEMENTAL RESPONSE (September 16, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, Plaintiffs


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 state that an additional incident is described in records produced at Bates

 BHW012656-BHW012677.

       SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections and the specific objections asserted above, Plaintiffs

 state that an additional incident is described in records produced at Bates

 BHW013944-BHW013970.

 7.    Describe the process used by Plaintiffs when a patient presents asking for
       abortion care.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs further

 object that the interrogatory is vague, ambiguous, and without reasonable

 particularity as “process” is not a defined term.

       Subject to and without waiving these and the general objections, Plaintiffs

 respond that they are not aware of any instance in which a Bella Health patient has

 presented asking for an abortion.

 8.    Describe how Plaintiffs obtain informed consent from a patient seeking
       medication abortion reversal treatment.

       RESPONSE: Subject to the general objections, Plaintiffs respond that they

 obtain informed consent from a patient seeking medication abortion reversal

 treatment by discussing with the patient the Threatened Loss Treatment Consent

 Form produced at BHW002104.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to the general

 objections, Plaintiffs respond that they obtain informed consent from a patient

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 seeking medication abortion reversal treatment by discussing with the patient the

 risks, benefits, and alternatives of the treatment, including by covering information

 included in the Threatened Loss Treatment Consent Form produced at BHW002104.

 9.    Identify all evidence that supports your claim that “Abortion Pill Reversal” is
       safe as alleged in Paragraph 126 of your Amended Complaint.

       RESPONSE: Subject to the general objections above, Plaintiffs state that the

 following evidence supports their claim that “Abortion Pill Reversal” is safe, as

 described in Paragraph 126 of the Amended Complaint: the declaration of Dr.

 Monique Chireau Wubbenhorst and the information cited therein, Dkt. 102-1;

 documents produced in response to Request for Production No. 5; and Plaintiffs’

 extensive experience with prescribing progesterone and providing treatment to

 abortion pill reversal patients. Plaintiffs further reserve their right to supplement

 this interrogatory response as appropriate, including in any expert and rebuttal

 reports.

       SUPPLEMENTAL RESPONSE (July 12, 2024): Subject to and without

 waiving the general objections above, Plaintiffs also identify the expert reports of Dr.

 Monique Chireau Wubbenhorst and Dr. Jeffrey A. Keenan and information cited

 therein, served on Defendants on May 31, 2024.

       SUPPLEMENTAL RESPONSE (September 16, 2024): Subject to and without

 waiving the general objections above, Plaintiffs also identify the rebuttal expert

 reports of Dr. Monique Chireau Wubbenhorst and Dr. Jeffrey A. Keenan and

 information cited therein, served on Defendants on August 1, 2024.


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        SUPPLEMENTAL RESPONSE (October 3, 2024): Subject to and without

 waiving the general objections above, Plaintiffs also identify the supplemental expert

 report of Dr. Monique Chireau Wubbenhorst and information cited therein, served on

 Defendants on October 3, 2024.

        SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving the general objections above, Plaintiffs also identify the

 second supplemental expert report of Dr. Monique Chireau Wubbenhorst

 and information cited therein, served on Defendants on December 9, 2024.

 10.    For Advanced Practice Nurse Plaintiffs, describe the specific educational
        programs, mentoring agreements, and collaborative agreements engaged in by
        each licensee to qualify for their certification, inclusion on the advanced
        practice registry, and prescriptive authority, as well as ongoing trainings
        completed to remain current in their identified role and population focus.

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs further

 object to the interrogatory to the extent it seeks information that is publicly available,

 or that is already within Defendants’ possession, custody, or control, or that may be

 obtained from another source that is more convenient or less burdensome, or less

 expensive. The state of Colorado maintains a database of Advanced Practice Nurses

 with   information    regarding    educational    programs,    mentoring    agreements,

 collaborative agreements, and trainings that are required for certification, inclusion

 on the advanced practice registry, and prescriptive authority.

        Subject to and without waiving these and the general objections, Plaintiffs

 respond that they are required to renew Nurse Practitioner-APN licenses every two

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 years. The licensing renewal process requires a renewal fee and Board certification

 when applicable. Board certification requires the reporting of continuing education

 hours once every three years.

 11.    Identify the tools, methods, strategies used by Plaintiffs to determine whether
        a patient has consumed mifepristone.

        RESPONSE: Subject to the general objections above, Plaintiffs respond that

 they determine whether a patient has consumed mifepristone based on the patient’s

 report to Plaintiffs that she has consumed mifepristone.

 12.    To Bella Health Plaintiffs: State all the facts that you rely upon to support the
        allegations in paragraph 221 of the First Amended Complaint (ECF No. 94).

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 overly broad, unduly burdensome, and not proportional to the needs of this case. See

 Moses v. Halstead, 236 F.R.D. 667, 674 (D. Kan. 2006); Bat v. A.G. Edwards & Sons,

 Inc., No. 04-cv-02225-REB-BNB, 2005 WL 6776838, at *2-3 (D. Colo. Nov. 18, 2005).

 Plaintiffs further object on the grounds that discovery in this case is ongoing and

 Plaintiffs’ factual investigation is ongoing and that, accordingly, the interrogatory is

 premature. See Fed. R. Civ. P. 33(a)(2). Plaintiffs further object to this interrogatory

 on the grounds that it calls for legal conclusions. Plaintiffs further object to this

 interrogatory to the extent it seeks attorney mental impressions, conclusions,

 opinions, or legal theories that are protected by the work product doctrine under Fed.

 R. Civ. P. 26(b)(3)(B).

        Subject to and without waiving the general objections and the specific

 objections asserted above, Plaintiffs state that responsive facts include, but are not

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 limited to, the following: Am. Compl. ¶¶ 121-31, 138-42, 145-50, 151-61, 163, 167-74,

 221 (Dkt. 94). Plaintiffs have described and continue to describe their practice as

 “full-service” and as providing “comprehensive” or “full continuum” care. Bella

 believes that these terms accurately describe the care it provides. But Section 2 of SB

 23-190 prohibits any advertisement “indicat[ing] … that the person provides

 abortions or emergency contraceptives, or referrals for abortions or emergency

 contraceptives.” Colo. Rev. Stat. § 6-1-734(2). This language was designed to punish

 “faith-based organizations” that advertise they provide “comprehensive reproductive

 healthcare.” The Attorney General has not repudiated that SB 23-190 was so

 designed. He has also not permanently disavowed enforcement of Section 2 or the

 Colorado Consumer Protection Act (“CCPA”) against advertisements like those cited

 above. And there is no evidence that he has prohibited his staff from enforcing Section

 2 as applied to such advertisements. Accordingly, advertisements like those identified

 above remain at risk under Section 2 of SB 23-190, placing Plaintiffs at risk of

 draconian CCPA penalties and damages.

       Supplemental Response (December 13, 2024): Subject to and without

 waiving these and the general objections, Plaintiffs state that additional

 responsive facts include, but are not limited to, the following: Bella’s Rule

 30(b)(6) deposition testimony concerning Bella’s awareness of statements

 made by Colorado legislators concerning SB 23-190, the Attorney General’s

 duty to uphold the law and refusal to disavow SB 23-190, and the text of SB

 23-190; and the deposition testimony of Mr. Nathan Blake and the Attorney

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 General’s Rule 30(b)(6) representative, including such testimony regarding

 the Attorney General’s refusal to disavow enforcement of SB 23-190, refusal

 to determine whether advertisements like those cited above are deceptive,

 continuing refusal to determine that advertising or publicizing abortion pill

 reversal is lawful, and ability to consider legislative declarations and/or

 information from legislative hearings in considering investigations or

 enforcement actions under the CCPA.

 13.    To Bella Health Plaintiffs: State all the facts that you rely upon to support the
        allegations in paragraph 267 of the First Amended Complaint (ECF No. 94).

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 overly broad, unduly burdensome, and not proportional to the needs of this case.

 Moses v. Halstead, 236 F.R.D. 667, 674 (D. Kan. 2006); Bat v. A.G. Edwards & Sons,

 Inc., No. 04-cv-02225-REB-BNB, 2005 WL 6776838, at *2-3 (D. Colo. Nov. 18, 2005)

 (similar). Plaintiffs further object on the grounds that discovery in this case is ongoing

 and Plaintiffs’ factual investigation is ongoing and that, accordingly, the

 interrogatory is premature. See Fed. R. Civ. P. 33(a)(2). Plaintiffs further object to this

 interrogatory on the grounds that it calls for legal conclusions. Plaintiffs object to this

 interrogatory to the extent it seeks attorney mental impressions, conclusions,

 opinions, or legal theories that are protected by the work product doctrine under Fed.

 R. Civ. P. 26(b)(3)(B).

        Subject to and without waiving the general objections and the specific

 objections asserted above, Plaintiffs state that responsive facts include, but are not

 limited to, the following: Am. Compl. ¶¶ 108-17, 121-31, 145-70, 177 (Dkt. 94). Section
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 1(3) of SB 23-190 states that “Section 6-1-105(1)(e) and (1)(rrr)” applies “to

 disseminating or causing to be disseminated … advertising for or providing or offering

 to provide or make available medication abortion reversal.” The Attorney General has

 not repudiated that this language prohibits Plaintiffs from counseling patients in

 connection with abortion pill reversal. He has also not permanently disavowed

 enforcement of the CCPA against such counseling. And there is no evidence that he

 has prohibited his staff from enforcing Section 2 as applied to such counseling.

 Plaintiffs regularly engage in such counseling as part of their abortion pill reversal

 practice or in describing their services. Accordingly, counseling like that identified in

 paragraph 267 of the First Amended Complaint remains covered by Section 1(3) of

 SB 23-190, placing Plaintiffs at risk of draconian CCPA penalties and damages.

       Supplemental Response (December 13, 2024): Subject to and without

 waiving these and the general objections, Plaintiffs state that additional

 responsive facts include, but are not limited to, the following: Bella’s Rule

 30(b)(6) deposition testimony concerning Bella’s awareness of statements

 made by Colorado legislators concerning SB 23-190, the Attorney General’s

 duty to uphold the law and refusal to disavow SB 23-190, and the text of SB

 23-190; and the deposition testimony of Mr. Nathan Blake and the Attorney

 General’s Rule 30(b)(6) representative, including such testimony regarding

 the Attorney General’s refusal to disavow enforcement of SB 23-190, refusal

 to determine whether advertisements like those cited above are deceptive,

 continuing refusal to determine that advertising or publicizing abortion pill

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 reversal is lawful, and ability to consider legislative declarations and/or

 information from legislative hearings in considering investigations or

 enforcement actions under the CCPA.

 14.   To Bella Health Plaintiffs: State all the facts that you rely upon to support the
       allegations in paragraph 276 of the First Amended Complaint (ECF No. 94).

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 overly broad, unduly burdensome, and not proportional to the needs of this case. See

 Moses v. Halstead, 236 F.R.D. 667, 674 (D. Kan. 2006); Bat v. A.G. Edwards & Sons,

 Inc., No. 04-cv-02225-REB-BNB, 2005 WL 6776838, at *2-3 (D. Colo. Nov. 18, 2005).

 Plaintiffs further object on the grounds that discovery in this case is ongoing and

 Plaintiffs’ factual investigation is ongoing and that, accordingly, the interrogatory is

 premature. See Fed. R. Civ. P. 33(a)(2). Plaintiffs further object on the grounds that the

 interrogatory calls for legal conclusions. Plaintiffs further object to this interrogatory

 to the extent it seeks attorney mental impressions, conclusions, opinions, or legal

 theories that are protected by the work product doctrine under Fed. R. Civ. P.

 26(b)(3)(B).

       Subject to and without waiving the general objections and the specific

 objections asserted above, Plaintiffs state that responsive facts include, but are not

 limited to, the following: Am. Compl. ¶¶ 121-31, 138-42, 145-74, 177, 215-221 (Dkt.

 94). Section 1(3) of SB 23-190 states that “Section 6-1-105(1)(e) and (1)(rrr)” apply “to

 disseminating or causing to be disseminated … advertising for or providing or offering

 to provide or make available medication abortion reversal,” and Section 2 of SB 23-

 190 prohibits any advertisement “indicat[ing] … that the person provides abortions
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 or emergency contraceptives, or referrals for abortions or emergency contraceptives.”

 Colo. Rev. Stat. § 6-1-734(2). Prior to the passage of SB 23-190, Plaintiffs

 “disseminat[ed] or caus[ed] to be disseminated … advertising for or providing or

 offering to provide or make available medication abortion reversal.” Prior to the

 passage of SB 23-190, Plaintiffs disseminated advertisements that described their

 practice as “full-service” or as providing “comprehensive” or “full continuum” care.

 Due to the vague and ambiguous nature of the statutory term “indicat[es],” these

 terms could “indicate” either to the Attorney General or a private person that they

 “provide[] abortions or emergency contraceptives, or referrals for abortions or

 emergency contraceptives.” In light of the potentially crippling penalties imposed by

 this statute, prior to the court’s temporary restraining order in this case, Bella was

 forced to remove any mention of abortion pill reversal from its website and social

 media accounts. Dkt. 94 ¶ 216. Further, Plaintiffs continue to describe their practice

 as “full-service” or as providing “comprehensive” or “full continuum” care. Bella

 believes that these terms accurately describe the care it provides. But SB 23-190 was

 designed to punish “faith-based organizations” that advertise they provide

 “comprehensive reproductive healthcare.” The Attorney General has never publicly

 rejected these statements and has refused to permanently disavow enforcement of SB

 23-190 or the CCPA against advertisements like those cited above or Plaintiffs’

 speech about abortion pill reversal. Accordingly, that speech remains at risk under

 Sections 1 and 2 of SB 23-190, putting Bella at risk of draconian CCPA penalties and

 damages.

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        Supplemental Response (December 13, 2024): Subject to and without

 waiving these and the general objections, Plaintiffs state that additional

 responsive facts include, but are not limited to, the following: Denise

 Chism’s, Abby Sinnett’s, Dr. Kathleen Sander’s, Natalie Lanker’s, and Bella’s

 Rule    30(b)(6)   deposition   testimony     concerning     Bella’s   removal   of

 advertisements at the time of SB 23-190’s enactment and/or awareness of

 statements made Colorado legislators concerning SB 23-190, the Attorney

 General’s duty to uphold the law and refusal to disavow SB 23-190, and the

 text of SB 23-190; and the deposition testimony of Mr. Nathan Blake and the

 Attorney General’s Rule 30(b)(6) representative, including such testimony

 regarding the Attorney General’s refusal to disavow enforcement of SB 23-

 190, whether advertisements like those cited above are deceptive,

 continuing refusal to determine that advertising or publicizing or

 informing patients about abortion pill reversal is lawful, and ability to

 consider legislative declarations and/or information from legislative

 hearings in considering investigations or enforcement actions under the

 CCPA.

 15.    Identify all material facts that you will rely on to show that the statements
        made by legislators during the debate on SB23-190 referenced in the
        Complaint (ECF No. 94 ¶¶159-185; ECF No. 140, ¶¶143-169) impact the
        Attorney General’s exercise of his enforcement authority under the Colorado
        Consumer Protection Act.

        RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 overly broad, unduly burdensome, and not proportional to the needs of this case.

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 Plaintiffs further object on the grounds that discovery in this case is ongoing and

 Plaintiffs’ factual investigation is ongoing and that, accordingly, the interrogatory is

 premature. See Fed. R. Civ. P. 33(a)(2). Plaintiffs further object on the grounds that the

 interrogatory calls for legal conclusions. Plaintiffs further object to this interrogatory

 to the extent it seeks attorney mental impressions, conclusions, opinions, or legal

 theories that are protected by the work product doctrine under Fed. R. Civ. P.

 26(b)(3)(B).

       Subject to and without waiving the general objections and the specific

 objections asserted above, Plaintiffs state that responsive facts include, but are not

 limited to, the following: Am. Compl. ¶¶ 35, 145-49, 159-85, 195-201, 215-21 (Dkt.

 94). The Attorney General has never publicly rejected these statements. Nor has he

 disavowed enforcement of SB 23-190 or the CCPA against advertisements like those

 cited in the responses above or Plaintiffs’ speech about their own medical practice

 and abortion pill reversal. The Attorney General has also not prohibited his staff from

 considering such statements when interpreting the CCPA or when deciding to initiate

 an investigation or enforcement action thereunder. Accordingly, that speech remains

 at risk under Sections 1 and 2 of SB 23-190, putting Bella at risk of draconian CCPA

 penalties and damages.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, Plaintiffs state that

 additional responsive facts include, but are not limited to, the following:

 Bella’s Rule 30(b)(6) deposition testimony concerning Bella’s awareness of

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 statements made by Colorado legislators, the Attorney General’s duty to

 uphold the law and refusal to disavow SB 23-190, and the text of SB 23-190;

 and the deposition testimony of Mr. Nathan Blake and the Attorney

 General’s Rule 30(b)(6) representative, including such testimony regarding

 the Attorney General’s ability to consider legislative declarations and/or

 information from legislative hearings in considering investigations or

 enforcement actions under the CCPA.

 16.   Identify all material facts that you will rely on to prove that you are entitled
       to relief for harm to “current or prospective patients” as those terms are used
       in the Complaint (ECF No. 94, ECF No. 140).

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 overly broad, unduly burdensome, and not proportional to the needs of this case.

 Plaintiffs further object on the grounds that discovery in this case is ongoing and

 Plaintiffs’ factual investigation remains ongoing and that, accordingly, the

 interrogatory is premature. See Fed. R. Civ. P. 33(a)(2). Plaintiffs further object on

 the grounds that the interrogatory calls for legal conclusions. Plaintiffs further object

 to this interrogatory because it seeks attorney mental impressions, conclusions,

 opinions, or legal theories that are protected by the work product doctrine under Fed.

 R. Civ. P. 26(b)(3)B). Plaintiffs further object on the grounds that this

 mischaracterizes Plaintiffs complaint, which does not use the term “current or

 prospective patients.”

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that responsive facts include, but are not limited to, the following:

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 Am. Compl. ¶¶ 17-20, 24-26, 58-59, 90-92, 109-20, 132-36, 209-22 (Dkt. 94). Since the

 passage of SB 23-190, more than 30 patients were either currently receiving or have

 since sought out Plaintiffs’ care to obtain information about, and/or to receive,

 abortion pill reversal care. In doing so, these patients have exercised the rights

 protected by the United States Constitution. In addition, Bella will continue to

 receive inquiries from unknown and unknowable patients seeking the same

 information and/or treatment, as evidenced both by patients who sought out this care

 before SB 23-190’s passage and by the patients that have continued to seek out this

 information/treatment since the commencement of this lawsuit. Through SB 23-190,

 Colorado Medical Board Rule 1.35, and Colorado Board of Nursing Rule 1.35,

 Colorado seeks to prevent these patients from being provided with information about,

 or receiving, abortion pill reversal care. Colorado’s experts also argue that abortion

 pill reversal should be prohibited, and no patient should receive any information

 about this treatment. As a result, Colorado’s position is that none of Plaintiffs’ current

 or future patients should be able to exercise their constitutional rights to obtain

 information about, or to receive, a medical treatment.

       SUPPLEMENTAL RESPONSE (December 13, 2024): Subject to and

 without waiving these and the general objections, Plaintiffs state that

 additional responsive facts include, but are not limited to, the following:

 Denise Chism’s, Abby Sinnett’s, Dr. Kathleen Sander’s, and Bella’s Rule

 30(b)(6) deposition testimony concerning Bella’s efforts to provide

 information and care to patients seeking information about, and/or receipt

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 of, abortion pill reversal care, and the effects of SB 23-190, Colorado Medical

 Board Rule 1.32, Colorado Board of Nursing Rule 1.35, and/or the

 preliminary injunction on such efforts and patients; and Dr. Rebecca

 Cohen’s, Dr. Alan Shackelford’s, Mr. Nathan Blake’s, Mr. Samuel Delp’s, and

 Dr. Roberta Hills’s deposition testimony concerning the effects of SB 23-190,

 Colorado Medical Board Rule 1.32, Colorado Board of Nursing Rule 1.35,

 and/or the preliminary injunction on efforts to provide information about,

 and/or provision/receipt of, abortion pill reversal care.

 17.   Identify the sender and recipient of the text message conversation produced at
       BHW013710-BHW013713.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs further

 object to the interrogatory to the extent it seeks information that is already within

 Defendants’ possession, custody, or control.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that the sender of the above-referenced message was Lauren Castillo,

 and the recipient was Nicole Cavey.

 18.   Identify the sender and recipient of the text message conversation produced at
       BHW013640-BHW013642.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that the

 information sought is not relevant to any party’s claims or defenses. Plaintiffs further

 object to the interrogatory to the extent it seeks information that is already within

 Defendants’ possession, custody, or control.

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       Subject to and without waiving these and the general objections above,

 Plaintiffs state that the sender of the above-referenced message was Denise Chism,

 and the recipient was George Delgado.

 19.   For Patient ID 21741 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 21741 to Denise Chism previously produced at BHW014157.

 20.   For Patient ID 22444 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 22444 to Denise Chism previously produced at BHW014158.




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 21.   For Patient ID 24395 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 24395 to Denise Chism previously produced at BHW014159.

 22.   For Patient ID 8234 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 8234 to Denise Chism previously produced at BHW014156.

 23.   For Patient ID 25542 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.
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       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 25542 to Denise Chism previously produced at BHW014160.

 24.   For Patient ID 26342 captured on Plaintiffs’ “APR tracker” beginning at
       BHW13127, identify the source of the information for this outcome. To the
       extent you claim this information is located within the patient chart, please
       identify the location of the charted outcome by BATES number.

       RESPONSE: Plaintiffs object to this interrogatory on the grounds that it is

 vague, ambiguous, and misleading in that it refers to the “APR tracker.” See

 Plaintiffs’ Response to Defendants’ Request for Production 18.

       Subject to and without waiving these and the general objections above,

 Plaintiffs state that relevant information can be found in a text message sent from

 Patient 26342 to Denise Chism previously produced at BHW014161.

                          REQUESTS FOR ADMISSION

 1.    Admit that Plaintiffs do not provide “abortions” or “emergency contraceptives,”
       as those terms are defined by C.R.S. § 6-1-734.

       RESPONSE: Admitted. Bella Health provides health care in accordance with

 the Ethical and Religious Directives produced at BHW001886-BHW001915.

 2.    Admit that Bella Health and Wellness does not advertise that it provides
       “abortions” or “emergency contraceptives,” as those terms are defined by C.R.S.
       § 6-1-734.

       RESPONSE: Admitted.

 3.    Admit that Plaintiffs have never faced professional discipline for prescribing a
       medication abortion reversal.

       RESPONSE: Admitted.



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 4.    Admit that Plaintiffs have never had to defend against a claim under the
       Colorado Consumer Protection Act, C.R.S. § 6-1-101, et. seq., related to
       medication abortion reversal.

       RESPONSE: Admitted.

 5.    Admit that no person or entity outside of Bella Health creates the content used
       in the advertisements that Bella disseminates.

       RESPONSE: Plaintiffs object to this request as vague, ambiguous, and without

 reasonable particularity as “creates the content used” is not a defined term.

       Subject to and without waiving these and the general objections above, given,

 as provided in Bella’s 30(b)(6) deposition testimony, a third-party videography

 company may create some content for Bella’s advertisements, denied.

 6.    Admit that Your religious beliefs do not compel You to mislead patients or
       prospective patients.

       RESPONSE: Plaintiffs admit that their religious beliefs compel them to

 never intentionally mislead patients or prospective patients.

 7.    Admit that You have no current plans to advertise that You offer abortion,
       emergency contraceptive, or referrals for abortion or emergency
       contraceptives, as those terms are defined by C.R.S. § 6-1-734, in the future.

       RESPONSE: Admitted.

 8.    Admit that Your claims do not allege that You have a right to mislead patients
       about abortion pill reversal

       RESPONSE: Plaintiffs admit that they do not allege that they have the right

to intentionally mislead patients about abortion pill reversal.

 9.    Admit that You did not document all communication with current patients,
       individuals who became patients, previously were patients, and/or prospective
       patients regarding abortion pill reversal in patient records.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

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 broad, unduly burdensome, and disproportionate to the needs of the case, as it

 requests an admission concerning “all communications” and also requests an

 admission concerning prospective patients who may or may not have become Bella

 patients with patient records. Plaintiffs further object to this request for admission

 on the grounds that the information sought is not relevant to any party’s claims or

 defenses.

       Subject to and without waiving these and the general objections above, given

 Plaintiffs do not, for example, record or memorialize all conversations front-desk

 employees have with patients or prospective patients, personal communications with

 patients that do not relate to treatment or care, or produce transcripts of patient

 visits, admitted.

 10.   Admit that You did not place all documents regarding communication with
       current patients, individuals who became patients, previously were patients,
       and/or prospective patients regarding abortion pill reversal in patient records.

       RESPONSE: Plaintiffs object to this request on the grounds that it is overly

 broad, unduly burdensome, and disproportionate to the needs of the case, as it

 requests an admission concerning “all documents regarding communications” and

 also requests an admission concerning prospective patients who may or may not have

 become Bella patients with patient records. Plaintiffs further object to this request

 for admission on the grounds that the information sought is not relevant to any

 party’s claims or defenses.

       Subject to and without waiving these and the general objections above, given

 Plaintiffs do not place, for example, birth or wedding announcements, or personal

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 communications with patients that do not relate to treatment or care in patient files,

 admitted.



                     [NOTHING FURTHER ON THIS PAGE]




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    Dated: December 13, 2024              Respectfully submitted,


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                                          As to Interrogatory Answers and
                                          Admissions:


                                          Abby Sinnett, Chief Operating Officer
                                          Bella Health & Wellness




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                           CERTIFICATE OF SERVICE

    I hereby certify that on December 13, 2024, a copy of the foregoing was served on

 Defendants and Plaintiff-Intervenor via email, to the following counsel of record:


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